Case 1:24-cv-01025-JLH          Document 37      Filed 04/21/25      Page 1 of 2 PageID #: 258




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


INGENUS PHARMACEUTICALS, LLC,

                       Plaintiff,
                                                            C.A. No. 24-1025-JLH
       v.

HETERO USA, INC., HETERO LABS LTD., and
HETERO LABS LTD. UNIT-VI,

                       Defendants.


                                     NOTICE OF SERVICE

       The undersigned hereby certifies that copies of the following document:

       DEFENDANTS’ INITIAL INVALIDITY CONTENTIONS

were served upon the attorneys listed below via electronic mail on this 21st day of April, 2025

prior to 5:00 p.m. Eastern:

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Case 1:24-cv-01025-JLH   Document 37   Filed 04/21/25     Page 2 of 2 PageID #: 259




 Dated: April 21, 2025



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